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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


BRIAN HANDEL D.M.D., P.C.            :             CIVIL ACTION
                                     :
          v.                         :
                                     :
ALLSTATE INSURANCE CO.               :             NO. 20-3198
                                     :

                                  ORDER

         AND NOW, this      6th     day of November, 2020, for the

reasons set forth in the foregoing Memorandum, it is hereby

ORDERED that the motion of defendant Allstate Insurance Co. to

dismiss the first amended complaint of plaintiff Brian Handel

D.M.D., P.C. for failure to state a claim (Doc. #16) is GRANTED.



                                         BY THE COURT:

                                         /s/ Harvey Bartle III
                                         _________________
                                                                     J.
